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           IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF TEXAS
                     HOUSTON DIVISION

JUAN CARLOS ALVAREZ,                 §
Petitioner,                          §
                                     §
                                     §
v.                                   §
                                     §           4:09-CV-03040
                                     §
WILLIAM STEPHENS,                    §    THIS IS A CAPITAL CASE.
Director, Texas Department of        §
Criminal Justice, Correctional       §
Institutions Division,               §
Respondent.                          §

  PETITIONER’S SUPPLEMENTAL BRIEF ADDRESSING THE
IMPACT OF THE MOST RECENT STATE COURT PROCEEDINGS
 ON MR. ALVAREZ’S INEFFECTIVE ASSISTANCE OF COUNSEL
                       CLAIMS
                                   Robert L. McGlasson*
                                   Texas Bar No. 13634050
                                   Attorney at Law
                                   1024 Clairemont Ave.
                                   Decatur, GA 30030
                                   TEL: 404-314-7664
                                   FAX: 404-879-0005
                                   Email: rlmcglasson@comcast.net

                                   Skyla V. Olds
                                   California Bar No. 241742
                                   Admitted Pro Hac Vice
                                   Attorney at Law
                                   P.O. Box 682
                                   Boyes Hot Springs, CA 95416
                                   (510) 915-4168 (phone)
                                   (707) 205-1492 (fax)
                                   Email: skyla.olds@gmail.com

                                    Counsel For Petitioner Juan Alvarez
                                   *Attorney in Charge
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I.        PROCEDURAL HISTORY

          Juan Alvarez was arrested on June 20, 1998 and charged in a felony

complaint with capital murder on July 2, 1998. CR. 2.1 The trial court

appointed John Denninger to represent Mr. Alvarez on August 19, 1998 and

Barry Hards to sit as second chair on December 18, 1998. CR. 322, 5.

Frumencio Reyes was substituted as lead counsel on August 12, 1999 and

Mr. Denninger remained on the case as second chair. CR. 512. Jury

selection for Mr. Alvarez’s capital case started on August 23, 1999, only

eleven days after Mr. Reyes took over as lead counsel. The State

commenced the presentation of its guilt phase case on September 13, 1999

and rested on September 21, 1999. The ill-prepared defense presented its

entire guilt phase case in less than two hours on September 21, 1999. CR.

546-47.

          The jury returned a verdict finding Mr. Alvarez guilty of capital

murder on September 22, 1999. CR. 549. Mr. Alvarez’s penalty trial started

on October 4, 1999 and lasted three days. After deliberating over lunch for

two and half hours, the jury answered the special sentencing questions such

that Mr. Alvarez was sentenced to death. CR. 556.



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    Citations in this Petition are as follows: “CR. _” refers to the “Clerk’s Record” in this
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        The Texas Court of Criminal Appeals [“CCA”] appointed R.P. Skip

Cornelius to represent Mr. Alvarez on direct appeal. CR. 555. Mr.

Cornelius missed the June 9, 2000 deadline for the filing of Mr. Alvarez’s

opening direct appeal brief, and the CCA issued an admonishment. Nearly

two weeks later, on June 21, 2000, Mr. Cornelius requested and obtained an

extension of time to file the brief. Four months later, after securing

additional extensions, Mr. Cornelius filed Mr. Alvarez’s direct appeal brief

on October 30, 2000. The State filed its response on April 26, 2001. Mr.

Cornelius waived the right to present oral arguments in support of the appeal.

The CCA denied Mr. Alvarez’s direct appeal on October 30, 2002 in an

unpublished opinion. Alvarez v. State, No. 73,648 (Tex. Crim. App. Oct. 30,

2002) (not designated for publication).

        While the case was pending on direct appeal, on December 14, 1999,

the CCA appointed Houston attorney Leslie Ribnik to represent Mr. Alvarez

in his state habeas proceedings.2 Counsel Ribnik filed an application for

writ of habeas corpus on September 10, 2001. The State filed an answer to

the writ on December 21, 2001.



2
 Susan Crump, Mr. Ribnik’s wife, was jointly appointed to represent Mr. Alvarez but no
billing was submitted for her work, and the files contains no indication of any
participation in representing Mr. Alvarez on her part, and all pleadings submitted on Mr.
Alvarez’s behalf were signed exclusively by Mr. Ribnik.


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        On March 25, 2005, Mr. Ribnik filed a supplemental brief requesting

review and reconsideration of Mr. Alvarez’s conviction and death sentence

on the basis that, although Mr. Alvarez is a Mexican national, the authorities

never advised him of his compulsory right to consular notification and

assistance pursuant to article 36 the Vienna Convention on Consular

Relations [“VCCR”]. The CCA ultimately determined that this was

supplemental briefing to a claim in the original petition, rather than a

successor petition.

        On August 4, 2006, Mr. Ribnik was formally diagnosed with

Parkinson’s Disease; he had been experiencing conditions and effects from

the disease for a number of years. Exh. 79,3 Affidavit of Leslie Ribnik

(October 8, 2006). As a result, the undersigned, attorney Robert McGlasson,

substituted in for Mr. Ribnik as state habeas counsel on October 11, 2006.

After reviewing case files and work conducted by prior habeas counsel

Ribnik, and in reliance on Texas state law regarding the right to competent

counsel in state habeas corpus proceedings, see, e.g., Ex parte Kerr, 64


3
  Exhibits to this Supplemental Brief maintain the exhibit numbers used in Mr. Alvarez’s
Amended Petition (Instrument No. 18) to prevent undue confusion. Citations to Exhibits
1-77 refer to the Exhibits to the Amended Petition (Instrument No. 18), all of which are
incorporated herein by express reference. The new exhibits attached to this Supplemental
Brief are numbered Exhibits 78-90. A full list of exhibits submitted in the Amended
Petition and the additional exhibits attached here is set forth in the Index following this
brief.


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S.W.3d 414, 419 (Tex. Crim. App. 2002); Ex parte Graves, 70 S.W.3d 103,

114 (Tex. Crim. App. 2002); Ex parte Mines, 26 S.W.3d 910, 912 (Tex.

Crim. App. 2000), on May 15, 2007, current habeas counsel filed a Motion

to Withdraw Mr. Ribnik’s Application for Writ of Habeas Corpus based on

the fact that counsel Ribnik had not been competent to represent Mr. Alvarez

at the time of his appointment because of his un-medicated and undiagnosed

Parkinson’s Disease. The state court never addressed this motion.

      As directed by the state district court, on the same date, the parties

filed proposed findings of facts and conclusions of law related to the initial

state habeas writ. Respondent additionally filed an opposition to the motion

to withdraw a few days later.

      On February 7, 2008, the State filed Respondent’s Amended Finding

of Facts. On that same date, Mr. Alvarez filed a Motion for Evidentiary

Hearing, Reply in Support of Application for Writ of Habeas Corpus and

Motion Renewing Request for an Evidentiary Hearing to Resolve

Controverted Material Facts, Motion Requesting Permission to Participate as

Pro Hac Vice Counsel and Motion Supporting Applicant’s Motion to

Participate as Pro Hac Vice Counsel. The state court never ruled on any of

these filings submitted by Mr. Alvarez.




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      The state court then requested both parties to submit proposed

findings of facts by April 24, 2008. Prior to that, Mr. Alvarez filed a Motion

for Discovery and Preservation of Evidence on April 17, 2008. On April 23,

2008, Respondent filed Amended Proposed Findings of Facts and Mr.

Alvarez filed Applicant’s Incomplete Proposed Finding of Facts and

Conclusions of Law on April 24, 2008.

      On May 23, 2008, the court issued Findings of Facts and Conclusions

of Law, and an Order sending all documents related to Mr. Alvarez’s case,

787007-A to the Texas Court of Criminal Appeals pursuant to Article

11.071 of the Texas Code of Criminal Procedure. The court did not rule on

any of the Petitioner’s other pending motions or pleadings.

      On September 24, 2008, in Ex Parte Juan Carlos Alvarez, WR-

62,426-01, the Texas Court of Criminal Appeals issued an Order denying

relief on Application for Writ of Habeas Corpus Cause No. 787007 in the

338th District Court Harris County. The CCA adopted the habeas court’s

findings of fact and conclusions of law, except for findings #47 through #73

and conclusions #14 through #19.

      On September 17, 2009, Mr. Alvarez filed a petition for writ of

habeas corpus in this Court (Instrument. No.1). He also requested that this

Court stay the proceedings and hold the petition in abeyance while he



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exhausted an application in state habeas corpus proceedings related to Brady

and DNA issues (Instrument No.5). The federal petition contained claims

that were virtually identical to those set forth in the state exhaustion petition

filed thereafter. On April 13, 2010, this Court entered an order (Instrument

No. 12) granting Petitioner’s motion to stay the case and hold it in abeyance,

to permit Petitioner to return to state court to file an application for writ of

habeas corpus related to the Brady DNA issues.

      On April 23, 2010, Mr. Alvarez filed an Application for Writ of

Habeas Corpus by a Person Sentenced to Death pursuant to Texas Code of

Criminal Procedure Article 11.071, § 5 in the 338th Judicial District Court

of Harris County, Texas, presenting four claims arising from false evidence

and testimony presented by the State at his trial through lab technicians at

the Houston Crime Lab. On May 11, 2010, the 338th District Court

forwarded the Application to the CCA to determine whether the Application

met the requirements of § 5 of Texas Code of Criminal Procedure Article

11.071.

      On July 21, 2010, Mr. Alvarez submitted to the CCA a Supplemental

Filing In Support of Application for Writ of Habeas Corpus providing

additional information about a factually indistinguishable case that the CCA

had recently determined met § 5 requirements. On September 15, 2010, the



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CCA held that the allegations failed to satisfy the requirements of Article

11.071, § 5(a) and dismissed the Application as an abuse of the writ pursuant

to Tex. Code Crim. Proc. Art. 11.071, § 5(c). On October 21, 2010, Mr.

Alvarez filed a motion requesting the CCA to reconsider the dismissal. On

November 17, 2010, the CCA denied the motion for rehearing.

      On January 5, 2011, this Court entered an order reopening the federal

habeas case and setting a briefing schedule (Instrument No.17). Pursuant to

the agreed scheduling order, Mr. Alvarez filed an amended federal petition

for writ of habeas corpus on April 4, 2011. Respondent filed an Answer on

September 1, 2011. On December 19, 2011, Mr. Alvarez filed a Reply to

Respondent’s Answer.

      On May 22, 2012, this Court ordered Respondent to respond to two

arguments raised in Petitioner’s Reply that requested a stay of proceedings

based on Ex Parte Medina, 361 S.W.3d 633 (Tex. Crim. App. 2011) (which

had been decided in the interim period after the parties had returned to

federal court), and/or excusal of procedural default based on recent U.S.

Supreme Court case developments in Martinez and Maples. Respondent

filed a Supplement Brief addressing these issues on June 20, 2012.

(Instrument No. 33).




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      On June 6, 2013, this Court stayed and held in abeyance the federal

habeas proceedings to permit Mr. Alvarez to return to stay court to litigate

the issue of initial habeas counsel Mr. Ribnik’s deficient performance under

Ex Parte Medina, supra, 361 S.W.3d 633. (Instrument No. 35). The Order

held that the “circumstances of state habeas counsel’s performance is [] an

issue best addressed in the first instance by the Texas courts in light of

Trevino.” Id. at 4. The Court noted that the Texas courts “should have the

first opportunity to consider whether Mr. Ribnik’s alleged incompetency

falls within the purview of Medina before this Court decides whether

Trevino authorizes de novo federal review.” Id.

      Mr. Alvarez proceeded to litigate funding issues and prepare a

successor petition to file in state court. After exhausting funding litigation,

on October 16, 2014, Mr. Alvarez filed his un-funded successive state

habeas application in the 338th District Court (Cause No. 787007-D).

      On April 29, 2015, the CCA dismissed Mr. Alvarez’s subsequent state

habeas application, holding that Mr. Alvarez failed to satisfy the

requirements of Tex. Code Crim. Proc. 11.071 § 5(a). Ex Parte Juan Carlos

Alvarez, WR-62,426-04 (Tex. Crim. App. Apr. 29, 2015). In a concurring

opinion joined by two other Justices, Justice Yearly observed that Mr.

Alvarez had alleged adequate facts to establish the ineffective assistance of



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both trial counsel and initial post-conviction habeas counsel, demonstrating

that the claim was a substantial one that has some merit. He concluded that

in this case, the federal court “may conduct their own review de novo, not

deferentially (since there is no state decision on the merits to defer to), under

Martinez/Trevino.” Ex Parte Juan Carlos Alvarez, WR-62,426-04,

Concurring Opinion at 2-3. The concurring opinion also endorsed the

suggestion made by Mr. Alvarez that Texas jurisprudence should be

reconsidered, and in particular, that the CCA should revisit Ex parte Graves,

70 S.W.3d 103 (Tex. Crim. App. 2002), in light of recent United States

Supreme Court decisions in Martinez v. Ryan, 132 S.Ct. 1309 (2012), and

Trevino v. Thaler, 133 S.Ct. 1911 (2013). Id. at 1.

      On July 15, 2015, Mr. Alvarez filed a Motion to reopen these federal

habeas proceedings. (Instrument No. 47). On June 24, 2015, this Court

ordered the Clerk to reopen the proceedings. (Instrument No. 48).

      On July 13, 2015, the Court entered a Scheduling Order, (Instrument

No. 50), directing that Petitioner file a supplemental brief addressing the

effect of the most recent state court proceedings on the pending federal

habeas litigation within ninety days of the order. Mr. Alvarez requested and

obtained two extensions. This brief is timely filed. (See Instrument No. 57).




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II.      ARGUMENT

         A.      Claims of Ineffective Assistance of Trial Counsel in the
                 Amended Petition are Not Procedurally Defaulted

         Mr. Alvarez’s position has been and continues to be that claims of

ineffective assistance of trial counsel (Claims I and II), set forth in the

Amended Petition (Instrument No. 18), are not procedurally defaulted. The

factual and legal bases for these claims were fairly presented in state court in

the initial state habeas proceedings, and any procedural default that would

apply due to a ruling by the CCA was not an adequate and independent state

bar. The arguments presenting this position are set forth in Petitioner’s

Reply Brief (Instrument No. 31) in Section IV, pp 25-38. They are re-

alleged here and incorporated fully by reference.

         B.      If the Court finds the IAC Claims are Procedurally
                 Defaulted, Initial State Habeas Counsel’s Ineffective
                 Representation Constitutes Cause to Excuse Procedural
                 Default and the Claims Should be Reviewed De Novo


                 1.     The impact of Martinez 4 and Trevino 5 on Mr.
                        Alvarez’s defaulted ineffective assistance of trial
                        counsel claims

         In Martinez, the U.S. Supreme Court held that ineffective state habeas

counsel shall constitute cause to excuse the default of substantial ineffective-

4
    Martinez v. Ryan, 132 S.Ct. 1309 (2012).
5
    Trevino v. Thaler, 133 S.Ct. 1911 (2013).


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assistance-of-trial-counsel claims. Martinez, 132 S.Ct. at 1316. This

Martinez rule reflects an equitable judgment by the U.S. Supreme Court that

capitally-sentenced state prisoners must be afforded full and unfettered

access to at least one court to meaningfully challenge their convictions and

sentences on the grounds that their trial counsel were ineffective under the

Sixth Amendment. See Martinez, 132 S.Ct. at 1316 (expressing its concern

that “[w]hen an attorney errs in initial-review collateral proceedings, it is

likely that no state court at any level will hear the prisoner’s claim . . . [a]nd

if counsel’s errors in an initial-review collateral proceeding do not establish

cause to excuse the procedural default in a federal habeas proceeding, no

court will review the prisoner’s claims”). Martinez applies when, because of

either a lack of initial-review state habeas counsel or ineffective state habeas

counsel, a state prisoner was effectively denied access to the state courts to

investigate and raise these claims, necessitating, in the Supreme Court’s

opinion, access to the federal courts to do so. Id. at 1318.

      In reaching its decision that ineffective state habeas counsel shall

constitute cause to excuse the default of substantial ineffective-assistance-of-

trial-counsel claims, the Supreme Court repeatedly referenced the necessity

of competent counsel to perform initial-review investigation and litigation of

trial-counsel ineffectiveness claims in the state courts. Id. at 1312



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(“‘defendants pursuing first-tier review . . . are generally ill equipped to

represent themselves’ because they do not have a brief from counsel or an

opinion of the court addressing their claim of error”) (quoting Halbert v.

Michigan, 545 U.S. 605, 617 (2005)); id. at 1317 (“[t]o present a claim of

ineffective assistance at trial in accordance with the State’s procedures, then,

a prisoner likely needs an effective attorney”); id. (“[t]he [unrepresented]

prisoner, unlearned in the law, may not comply with the State’s procedural

rules or may misapprehend the substantive details of federal constitutional

law.”) (citations omitted). As the Court noted, “[w]hile confined in prison,

the prisoner is in no position to develop the evidentiary basis for a claim of

ineffective assistance, which often turns on evidence outside the trial record.”

Id.

         Because “[t]he right to the effective assistance of counsel at trial is a

bedrock principle in our justice system,” then, the Supreme Court carved out

the exception to Coleman6 under which state habeas counsel’s failure to

reasonably investigate and scrutinize the quality of trial counsel’s

performance opens the door for federal counsel to do so, in an initial-review

posture. See Ex parte Alvarez, Case No. 62,426-04 (Tex. Crim. App. Apr.

29, 2015) (not designated for publication) (Yeary, J., joined by Johnson and

6
    Coleman v. Thompson, 501 U.S. 722 (1991).


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Newel, JJ., concurring) (“Suffice it to say that I am persuaded that, should

this Court refuse to reach the merits of Applicant’s claim of ineffective

assistance of trial counsel, the federal courts may do so, and indeed may

conduct their own review de novo, not deferentially (since there is no state

decision on the merits to defer to), under Martinez/Trevino.”).

      Under Martinez and Trevino, the federal courts were thus designated

as the appropriate—and the only guaranteed—venue for initial review of

Texas prisoners’ trial counsel ineffectiveness claims when state habeas

counsel ineffectively waived those claims in state court. The federal court

may refuse de novo review of those claims only if it finds, after adequate

time and resources have been afforded the petitioner to fully develop and

present facts and argument on the issue of cause and prejudice under

Martinez and Trevino, that the allegations are insubstantial, or if it finds that

state habeas counsel did not perform below an objective standard of

reasonableness.

      The U.S. Court of Appeals for the Fifth Circuit has laid out a three-

step process for determining whether cause and prejudice has been

established to excuse the procedural default of trial counsel ineffectiveness

claims raised in federal collateral proceedings. To establish cause and

prejudice, a petitioner must demonstrate: (1) that counsel in initial-review



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state collateral proceedings was deficient, meaning their performance fell

below an objective standard of reasonableness; (2) that the underlying

ineffective-assistance-of-trial-counsel claim is substantial, meaning it has

“some merit”; and (3) that the petitioner suffered prejudice as a result of the

unreasonable performance of his trial counsel. Canales v. Stephens, 765

F.3d 551, 567-68 (5th Cir. 2014).

      With regard to the first prong of a Martinez cause argument, the Fifth

Circuit has held that state habeas counsel’s performance falls below an

objective standard of reasonableness when counsel’s failure to pursue a

collateral mitigation investigation was not based on a strategic decision. Id.

at 569. As Mr. Alvarez will demonstrate, counsel Ribnik’s failure to

conduct any new investigations on Mr. Alvarez’s behalf was not the result of

reasoned, strategic decision-making. Rather, Ribnik conducted no

investigations on Mr. Alvarez’s behalf because this was his standard modus

operandi at the time of his appointment, and not because of any case-

specific strategy or reasoning: Ribnik had a well-established practice in his

capital habeas work of copying his prior writs verbatim, and raising non-

case-specific, record-based claims. And, he was suffering from a

debilitating neurological disease that even further limited the extent and

quality of his advocacy.



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          With regard to the Fifth Circuit’s second prong of a Martinez cause

argument, this Court must find that Mr. Alvarez’s ineffective-assistance-of-

trial-counsel claims have “some merit”. Id. at 570. He need not prove the

validity of the claims, but merely that they show promise. As Mr. Alvarez

has demonstrated in his prior pleadings, incorporated herein by express

reference and discussed, infra, trial counsel failed to adequately represent

Mr. Alvarez at both the guilt and penalty phases of his trial, conducting

almost no meaningful investigations before attempting to confront the

State’s case at both phases of trial. See section II.B.3, infra. Moreover, their

failure to conduct meaningful investigations prejudiced Mr. Alvarez, such

that there is a reasonable probability that, had counsel conducted the

investigations that have now been conducted by the undersigned, “at least

one juror would have struck a different balance.” Wiggins, 539 U.S. at 537;

id. In short, section II.B.3, infra, more than amply demonstrates that there is

“some merit” to Mr. Alvarez’s trial ineffectiveness claims, and that they are

“adequate to deserve encouragement to proceed further.” Miller-El v.

Cockrell, 537 U.S. 322, 327 (2003) (citing Slack v. McDaniel, 529 U.S. 473,

484 (2000)). Indeed, the CCA’s concurring opinion conceded this very

point. Ex Parte Juan Carlos Alvarez, WR-62,426-04, Concurring Opinion

at 2-3.



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      Finally, in order to demonstrate the ineffectiveness of state habeas

counsel, the Fifth Circuit held in Canales that petitioners must demonstrate

some prejudice resulting from trial counsel’s deficient performance. See

Canales, 765 F.3d at 568, 571. This is a mixed question of law and fact,

requiring factual development in this Court. Id.; see also Canales v.

Stephens, Case No. 2:03-cv-00069 (E.D. Tex. Sept. 21, 2015) (granting

funds to investigate Mr. Canales’ Wiggins claim for the prejudice analysis

because “the implication of the Fifth Circuit’s [remand] order is that Canales

should be permitted to develop the factual basis of his claim”). This Court

should, therefore, determine prejudice only after granting adequate time and

resources to enable Mr. Alvarez to fully develop and present his trial and

state habeas counsel ineffectiveness claims.

      Importantly, Mr. Alvarez need only demonstrate a “reasonable

likelihood” that the result of the state habeas proceeding would have been

different had Ribnik investigated and presented the trial counsel

ineffectiveness claims presented herein. See Martinez, 132 S.Ct. at 1318

(expressly applying the Strickland standard to this prong of the cause and

prejudice analysis). It would place a heavier burden on Mr. Alvarez than the

Supreme Court contemplated in Martinez to require a showing of actual

prejudice – i.e. to require Mr. Alvarez to demonstrate that he is entitled to



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relief on his ineffective-assistance-of-trial-counsel claims as an element of

Martinez cause. See Newbury v. Stephens, 756 F.3d 850, 872 (5th Cir. 2014)

(“To establish ineffective assistance of state habeas counsel, Newbury must

show both that habeas counsel’s performance – in failing to present to the

state habeas court the evidence that he presented for the first time in federal

court – was deficient and that he was prejudiced by the deficient

performance – that is, that there is a reasonable probability that he would

have been granted state habeas relief had the evidence been presented in the

state habeas proceedings.”) (citing Strickland, 466 U.S. at 687).7

       Once this Court determines that Mr. Alvarez has established cause

and prejudice under Martinez, it must consider the merits of his defaulted

ineffective-assistance-of-trial-counsel claims in an initial-review posture,

allowing full factual development and considering the claims under a de
7
  To the extent Canales can be interpreted as requiring a showing of actual prejudice
resulting from state habeas counsel’s unreasonable failure to investigate and raise the
ineffective-assistance-of-trial-counsel claims raised for the first time in federal habeas—
see Canales, 765 F.3d at 568 (“To excuse procedural default fully, Mr. Canales would
then be required to prove that he suffered prejudice from the ineffective assistance of his
trial counsel.”)—Mr. Alvarez asserts this standard is incorrect under the plain language of
Martinez, is inconsistent with prior Fifth Circuit precedent, and is inconsistent with the
standard employed by other Circuit Courts. See Martinez, 132 S.Ct. at 1318; Newbury,
756 F.3d at 872; Claborune v. Ryan, 745 F.3d 362, 377 (9th Cir. 2014); Glenn v. Wynder,
743 F.3d 402, 409-11 (3d Cir. 2013); Juniper v. Zook, 2015 U.S. Dist. LEXIS 101473 at
*13-14 (E.D. Va. 2015). See also Bohnert, Allen L., Wrestling with Equity: Identifiable
Trends as the Federal Courts Grapple with the Practical Significance of Martinez v. Ryan
and Trevino v. Thaler, 43 Hofstra L. Rev. 945, 950-51 (Summer, 2015) (“[W]hether they
have done so explicitly or implicitly, courts in the Third, Fifth, Sixth, Ninth and Eleventh
Circuits have articulated and/or applied an approach that melds the traditional “cause”
inquiry and the traditional “actual prejudice” inquiry in the Martinez/Trevino context.”).


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novo standard of review. See Ward v. Stephens, 777 F.3d 250, 256 (5th Cir.

2015) (“The standard of review we apply depends on the state court’s

treatment of the federal claim. . . . For claims that are not adjudicated on the

merits in the state court, however, we do not apply the deferential scheme

laid out in § 2254(d) and instead apply a de novo standard of review.”)

(citations and quotations omitted); Canales, 765 F.3d at 571; Allen v.

Stephens, 2015 U.S. App. LEXIS 12777 at *18 (5th Cir. 2015) (not

designated for publication); Rayford v. Stephens, 2015 U.S. App. lEXIS

8445 at *32 (5th Cir. 2015) (not designated for publication).

      Although Martinez does not address the right to competent counsel to

conduct initial-review litigation of ineffectiveness claims in federal court,

the same considerations that led the Supreme Court to conclude that

competent counsel is necessary to conduct initial-review litigation in state

court apply equally to initial-review litigation in federal court. A capital

prisoner in federal habeas requires competent counsel to interpret federal

constitutional law, comply with the federal rules, and uncover the facts

necessary to test whether he received constitutionally adequate

representation at trial. See Martinez, 132 S.Ct. at 1317; see also McFarland

v. Scott, 512 U.S. 849, 854-55 (1994) (“[T]he right to appointed counsel




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adheres prior to the filing of a formal, legally sufficient habeas corpus

petition.”).

       Moreover, it was not necessary for the Supreme Court to address the

post-Martinez right to competent federal court representation to pursue

initial review of defaulted ineffectiveness claims in federal habeas. Unlike

in the various state courts throughout the country, where state prisoners are

guaranteed varying degrees of representation on collateral review (if they are

guaranteed representation at all, see Martinez, 132 S.Ct. at 1319), 18 U.S.C.

§ 3599 has long guaranteed to capitally convicted state prisoners

representation by conflict-free and otherwise competent counsel to conduct

all appropriate federal habeas investigations and litigation. See McFarland,

512 U.S. at 859 (18 U.S.C. § 3599 guarantees provides capital defendants “a

mandatory right to qualified legal counsel in [federal habeas] proceedings”);

Martel v. Clair, 132 S. Ct. 1276, 1284–85 (2012) (Section 3599 “grants

federal capital defendants and capital habeas petitioners enhanced rights of

representation.”).

       The impact of Martinez on § 3599 was merely to broaden the scope of

that statutorily guaranteed representation to include the investigation and

litigation of defaulted claims relating to the ineffective assistance of trial

counsel. Compare Smith v. Dretke, 422 F.3d 269, 288 (5th Cir. 2005) (prior



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to Martinez, a district court did not abuse its discretion in denying

investigatory and expert funds “when a petitioner has (a) failed to

supplement his funding request with a viable constitutional claim that is not

procedurally barred…”), with Mendoza v. Stephens, 783 F.3d 203, 203 (5th

Cir. 2015) (post-Martinez, appointing supplemental, conflict-free counsel to

represent petitioner in district court to “establish cause for the procedural

default of any ineffective-assistance-of-trial-counsel claims pursuant to

Martinez and Trevino that he may raise, and [litigate] whether those claims

merit relief.”). Accordingly, post-Martinez and Trevino, Mr. Alvarez has the

statutory right under § 3599 to the full range of competent representation

contemplated by the Congress and the Supreme Court for capitally-

convicted state prisoners with regard to his defaulted trial counsel

ineffectiveness claims and his Martinez cause arguments. This includes the

right to reasonably necessary resources to investigate his ineffectiveness

claims and cause arguments, and the right to representation at a hearing to

establish the bases for those claims and arguments.

      Thus Martinez and Trevino provide a clear roadmap for this Court

going forward: the Court must initially consider Mr. Alvarez’s arguments

that, on the face of the current record, he has established Mr. Ribnik’s

ineffectiveness in state habeas proceedings and sufficient merit to his



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underlying trial counsel ineffectiveness claims to permit full and de novo

merits review of his purportedly defaulted trial ineffectiveness claims. If so,

Mr. Alvarez must be permitted adequate time and resources to fully

investigate, develop, and present the trial claims to this Court in a full and

fair evidentiary hearing.

      If, however, the Court determines that the current record is

insufficient to establish Mr. Ribnik’s ineffectiveness in state habeas

proceedings – because Mr. Alvarez has heretofore been denied any

meaningful opportunity to investigate, develop and present this argument in

any other court – he must be given such opportunity here. This will require

the granting of time and resources sufficient to provide him a full and fair

opportunity to present his position to this Court. It will require a full and

fair evidentiary hearing in this Court, so that Mr. Alvarez will be allowed to

fully present his state habeas counsel ineffectiveness argument.

             2.     Mr. Ribnik was deficient, as his performance fell
                    below an objective standard of reasonableness

      As noted above, the current record is more than sufficient to establish

that Leslie Ribnik provided ineffective assistance in his representation of Mr.

Alvarez in state habeas proceedings in this case. The concurring opinion in

the CCA agrees, while at the same time urging the Court to reconsider its

existing law, which apparently provides no meaningful avenue of relief for

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the ineffective representation provided by attorneys such as Mr. Ribnik. His

incompetence in this case is best appreciated in the context of the underlying

system in place at that time in Texas for the provision of state habeas

counsel in capital cases.

      In an effort to comply with AEDPA, the State of Texas created a

procedure for the CCA “under rules and standards adopted by the court, [to]

appoint competent counsel” for indigent death row inmates for state post-

conviction appeals. TEX. CODE CRIM. PROC. art. 11.071 § 2(d)

(amended 1999). Such counsel, the statute provided, “shall investigate

expeditiously . . . the factual and legal grounds for the filing of an

application for a writ of habeas corpus.” Id. § 3(a).

      The system that was set up for appointing attorneys to capital cases,

however, failed to ensure that the attorneys were “competent”. In fact, the

State Bar of Texas Task Force on Habeas Counsel Training and

Qualification, which studied the system and ultimately helped prompt the

Legislature to create the Office of Capital Writs, observed that a new

appointment system was necessary because the existing system had

“resulted in a list containing lawyers who were, at best, unqualified to serve

as capital habeas counsel and at worst, lawyers who . . . filed habeas writs

copied verbatim from writs filed in other cases, lawyers who filed writs with



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absolutely no cognizable claims, lawyers who were serving suspensions

from the practice of law for neglecting their clients and even lawyers who

were deceased.” Ex. 89, State Bar of Texas Task Force on Habeas Counsel

Training and Qualification, Task Force Report, April 27, 2007, at 8.

      Mr. Alvarez was unfortunately one of the capital defendants saddled

with just the kind of attorney cited in the Report, filing habeas writs copied

verbatim from writs filed in other cases, and writs with absolutely no

cognizable claims. Mr. Ribnik was appointed to represent Mr. Alvarez

despite a pre-existing incompetent practice: prior to his appointment in this

case Mr. Ribnik routinely failed to conduct the necessary investigations to

develop cognizable habeas claims; and he followed that practice in this case.

Moreover, by the time of his representation of Mr. Alvarez, Mr. Ribnik was

also cognitively impaired by a debilitating neurological condition.

      In this case, Mr. Ribnik filed an “application for writ of habeas corpus”

containing three claims: the first claim was identical to claims Mr. Ribnik

filed in at least two other state habeas petitions (see infra, for Mr. Resendiz

and Mr. Will); it contained no facts specific to Mr. Alvarez or his case, no

newly discovered evidence, and nothing besides a straight legal argument

that could have been raised at trial and on direct appeal. The other two

claims sought relief based on the State’s violation of Mr. Alvarez’s rights as



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a Mexican national under the Vienna Convention on Consular Relations and

trial counsel’s ineffectiveness for failing to challenge the admissibility of

evidence obtained in violation of Mr. Alvarez’s Vienna Convention rights,

but likewise contained no facts or arguments that were not based entirely on

the trial record. The first of these two claims had already been raised and

rejected by the CCA on direct appeal. There were no exhibits or other

evidence presented to support these claims.

       Filing a habeas writ is a complicated and involved process that is, or

at least should be, based not only on a review and mastery of the existing

trial record, but also on a full investigation of all aspects of the case, the

prosecution, and the defense representation, and the development of facts

wholly outside the record. The ABA Guidelines and the Guidelines and

Standards for Texas Capital Counsel [hereinafter “Texas Guidelines”]8 set

forth the abilities and duties required for the appointment and performance

of habeas counsel. The Texas Guidelines begin the description of habeas

counsel’s general duties with the warning that:

8
  The Texas Bar Association’s Guidelines and Standards for Capital Case Counsel were
adopted by the State Bar Board of Directors on April 21, 2006. The Texas Guidelines
largely duplicate the ABA Guidelines, originally adopted in 1989 (and revised since then),
which set forth the basic responsibilities and practices employed by competent habeas
counsel for years. The ABA Guidelines indicate that they are not aspirational, but instead
“embody the current consensus about what is required to provide effective defense
representation in capital cases.” ABA Guidelines for the Appointment and Performance
of Defense Counsel in Capital Cases, revised Feb. 2003, at 7.


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      Habeas corpus counsel must understand that the state habeas
      corpus proceeding is not a second direct appeal. Direct appeal-
      like, record- based claims are not cognizable in state habeas
      corpus and can be fatal to the capital client. Counsel should not
      accept an appointment if he or she is not prepared to undertake
      the comprehensive extra-record investigation that habeas corpus
      demands.

Texas Guidelines 12.2(B)(1)(a).

      The Texas Guidelines set forth the specific responsibilities that detail

what habeas counsel must do to prepare to file the state habeas writ. These

mandate that counsel:

   • “conduct a searching inquiry to assess whether any constitutional
     violations may have taken place, including – but not limited to –
     claims involving police and prosecutorial misconduct, faulty
     eyewitness evidence, coerced confessions, dubious or flawed forensic
     scientific methods, ineffective assistance of trial and appellate counsel,
     and juror misconduct” (12.2(B)(1)(c));
   • “master the set of procedural rules and statutes that may restrict
     capital client’s opportunity for federal habeas corpus review”
     (12.2(B)(1)(f));
   • “establish a relationship of trust with the client” and “develop a
     relationship of trust with the client’s family” (12.2(B)(2)(b));
   • “keep the capital client informed of case developments”
     (12.2(B)(2)(c));
   • “conduct a thorough and independent investigation of both the
     conviction and sentence” (12.2(B)(3)(a));
   • “obtain and read the entire record of the trial”; “independently verify
     that the official record of all prior proceedings is complete, and to
     supplement if necessary”; “inspect the evidence and obtain the files of
     trial and appellate counsel”; and “interview prior counsel and
     members of the defense team” (12.2(B)(3)(b);
   • “make an independent examination of all of the available evidence –
     both that which the jury heard and which it did not” (12.2(B)(3)(d));



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   • “conduct a guilt-innocence phase investigation regardless of any
     admission or statement by the capital client about the facts of the
     crime, or overwhelming evidence of guilt” (12.2(B)(4)(a));
   • “interview most, if not all, of the critical witnesses for the prosecution
     and investigate their background” (12.2(B)(4)(e));
   • “assess all of the non-testimonial evidence and consider whether to
     perform independent forensic testing” (12.2(B)(4)(f));
   • “interview potential witnesses who might challenge the prosecution’s
     version of events” (12.2(B)(4)(g));
   • “maintain copies of media reports about the case to determine the
     effects of pretrial publicity” (12.2(B)(4)(j));
   • “conduct a mitigation investigation” (12.2(B)(5)(a));
   • “not rely on his or her own observations of the capital client’s mental
     status as sufficient to detect the array of conditions that could be of
     critical importance” (12.2(B)(5)(b));
   • “retain an independent mitigation specialist [...] to compile a
     comprehensive and well-documented psychosocial history of the
     client based on exhaustive investigation, interviews, and collection of
     documents” (12.2(B)(5)(c));
   • “locate and interview the capital client’s family members [...] and
     virtually everyone else who knew the client and his family, including
     neighbors, teachers, clergy, case workers, doctors, correctional,
     probation, or parole officers, and others” (12.2(B)(5)(f));
   • “investigate prior convictions and unadjudicated offenses”
     (12.2(B)(5)(h));
   • “demand on behalf of the capital clients all resources necessary to
     provide high quality legal representation, to conduct a thorough
     investigation of both the conviction and sentence, to procure
     documentary evidence, and to retain experts” (12.2(B)(6)(a));
   • “consider every legal claim potentially available” (12.2(B)(7)(b));
   • “preserve issues calling for a change in existing precedent”
     (12.2(B)(7)(c));
   • “attach all available proof to the application” and “plead all factual
     allegations with the greatest possible specificity” (12.2(B)(7)(d)).

Texas Guidelines at 12.2(B).




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      Section 3 of the Texas Code of Criminal Procedure underscores this

duty to develop facts and claims outside the record before filing a habeas

application. TEX. CODE CRIM. PROC. art. 11.071 § (3)(a) (habeas

counsel must “expeditiously” investigate, “before and after the appellate

record is filed,” the “factual and legal grounds” for filing a habeas

application). See Ex parte Mines, 26 S.W.3d 910, 912 (Tex. Crim. App.

2000) (art. 11.071 “requires” investigation).

      Mr. Ribnik failed to fulfill these fundamental duties. In the 23 months

he had to investigate, prepare and file Mr. Alvarez’s initial state habeas

application, Mr. Ribnik did not conduct any fact investigation in the case, let

alone the external investigation and development of new facts that are

required to identify cognizable post-conviction issues. Mr. Ribnik has

acknowledged his failure in this case:

      Prior to filing the writ on September 10, 2001, I did not have
      the assistance of an investigator or mitigation specialist though
      I did not request funding for such. However, I had discussed
      the possibility of investigating grounds for mitigation with a
      mitigation specialist. Except for review of trial testimony and
      evidence, and the substance of my conversation with the
      specialist, but without further actual investigation, I did not
      pursue a mitigation investigation.

      I did not attempt to locate or interview any of Mr. Alvarez’s
      extended family or conduct any other investigation of his life in
      Mexico.

      I did not interview any of the jurors from Mr. Alvarez’s case.

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      Prior to filing the writ on September 10, 2001, I did not hire any
      expert witnesses nor did I consult with any experts or have
      anyone evaluate Mr. Alvarez.

Exh. 78, ¶¶ 12-15, Affidavit of Leslie M. Ribnik (May 14, 2007).

      A review of Mr. Ribnik’s affidavit indicates that he merely duplicated

the work of Mr. Alvarez’s trial lawyers and direct appeal attorney by

preparing the writ based entirely on the record. He reviewed the transcripts

from trial, looked through the state’s file, and requested the case files from

one (of three) of Mr. Alvarez’s trial counsel. Exh. 78, Affidavit of Leslie M.

Ribnik, (May 14, 2007) at ¶¶ 5, 6, and 10. He did not review or develop any

information other than that which the prior attorneys had used. Even his

record-based preparations were plagued by delay and missteps, which may

have been caused in part by the cognitive impairments characteristic of early

Parkinson’s. For instance, although Mr. Ribnik obtained from Mr. Alvarez a

consent form to release records on October 26, 1999, he failed to use it to

request Mr. Alvarez’s file from one of his trial attorneys until February 16,

2001, a full 15 months later. Exh. 78, Affidavit of Leslie M. Ribnik (May

14, 2007) at ¶¶ 4 and 10. He failed entirely to request the files of the other

attorneys who had represented Mr. Alvarez.

      Mr. Ribnik should have retained the services of an investigator and

mitigation specialist, or at the least conducted the investigation himself. Mr.

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Alvarez had extensive family in the Houston area, all of whom were

available and eager to assist in any manner possible. Mr. Ribnik never

interviewed any family members about what sort of mitigating information

existed, information trial counsel also failed to develop. The extensive

mitigation information later discovered and detailed in the claims below

show exactly how significant this failure to investigate was to Mr. Alvarez’s

case.

        As Araceli Alvarez, one of Mr. Alvarez’s sisters, attested to in her

affidavit:

        Mr. Ribnik never contacted me before he filed that document in
        September 2001. I know that Mr. Ribnik also never contacted
        any other member of our family prior to September 2001.

        Had Mr. Ribnik contacted me, I gladly would have met with
        him and provided any information he requested, including
        information about Juan’s childhood and life. I know that
        everyone else in my family would also have done anything to
        help Mr. Ribnik with Juan’s case.

        …

        Mr. Ribnik stated that he could not do anything for Juan
        because of the evidence presented against him at trial. He
        stated that he saw the case as a lost cause.”

        Mr. Ribnik said that he had not done, nor could he do any new
        investigation into Juan’s case because he did not have funding
        to do so. He explained to us that he was appointed by the state
        to defend Juan, but that he was not getting paid enough to be
        able to truly defend him.



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Exh. 80, ¶¶ 5-6, 8-9, Affidavit of Araceli Alvarez and Translation Affidavit

of Naomi Terr.

      Another sister, Norma Patricia Marroquin, also attested to Mr.

Ribnik’s failure to establish a relationship with the family, interview them

for mitigation purposes, or keep them updated about the case:

      Mr. Ribnik never contacted me or any member of my family at
      any time before filing the document in September 2001.

      I am one of nine siblings. I am very close to all of my family,
      and keep in regular contact with them. Most of us see one
      another or speak on a daily basis. I know that Mr. Ribnik never
      contacted any of my siblings or any other member of Juan’s
      family prior to September 2001.

      I would have been happy to meet with Mr. Ribnik to share with
      him any information I had about Juan and his life. I know that
      everyone else in my family feels the same. We all would have
      done anything to help Juan’s lawyers with his case.

      …

      “[Long after the A writ was filed] I called Mr. Ribnik several []
      times. Each time I called I had the same experience. I would
      leave a message and he would return my call several days later.
      When he finally called, I would try to ask about Juan’s case, but
      he would cut it short and end the call without explaining what
      was going on with the case.

      …

      Mr. Ribnik seemed very negative and said there was not much
      he could do to help with Juan’s case. Mr. Ribnik also spoke
      very slowly, in short sentences and without providing any detail.
      He seemed to struggle to find words to say and he did not say



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      very much. [Describing Mr. Ribnik’s actions at a meeting
      some time in 2003 after the writ was filed.]

Exh. 81, ¶¶ 6-7, 10, 15, Affidavit of Norma Patricia Marroquin and

Translation Affidavit of Naomi Terr.

      Mr. Ribnik never contacted a wide cross section of friends,

acquaintances, and teachers to determine what trial counsel could have and

should have gleaned from them. He never looked outside the record to

determine whether there were any issues of misconduct related to the jury’s,

prosecution’s, defense attorneys’, or trial court judge’s behavior leading up

to and during trial. Mr. Ribnik’s failures to conduct any investigation of

non-record claims falls far below the accepted standards of practice of state

habeas counsel recognized expressly set forth in the ABA and Texas

Guidelines.

      Mr. Ribnik’s failure to hire an investigator and mitigation specialist or

to conduct the necessary investigation himself; his failure to obtain funds to

consult with forensics experts (despite the confusing presentation of

forensics evidence used against Mr. Alvarez at trial); his failure to have

experts evaluate Mr. Alvarez’s mental health status (since no complete

psychological evaluation had ever been completed); his failure to interview

jurors; and his failure to interview Mr. Alvarez’s family, friends, teachers

and acquaintances, all were devastating to the quality of Mr. Alvarez’s state

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habeas proceedings. Without conducting these basic investigations, Mr.

Ribnik could not identify or present any cognizable post-conviction claims,

despite the availability of the substantial claims presented in these federal

habeas corpus proceedings.

         No claim of case-specific strategy can or does justify Mr. Ribnik’s

work in Mr. Alvarez’s case. In fact, the type of representation he provided

to Mr. Alvarez replicates the representation he provided all of his other

capital state habeas clients.

         Mr. Ribnik was admitted to the Texas Bar on November 3, 1989.

Thereafter he was appointed to represent capitally convicted defendants in

their state habeas proceedings in ten cases, including that of Mr. Alvarez.

Mr. Ribnik was appointed in seven of these cases prior to his appointment to

represent Mr. Alvarez on December 14, 1999.9 After being appointed to

represent Mr. Alvarez, Mr. Ribnik accepted appointment in two additional

cases.10

         A quick review of the nature and extent of the work he routinely

performed in all of these cases more than establishes that the “minimalist,”


9
 These capital defendants are James Richard Dickerson, Hector Garcia-Torres, Shelton
Denoria Jones, Michael Wayne Richard, Michael Durwood Griffith, Jorge Villanueva,
and James Lewis Jackson.
10
     Angel Maturino Resendiz and Robert Gene Will.


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record-claim-only approach he adopted in Mr. Alvarez’s case was not

strategically adopted or suited for this case. Instead, a pattern of this exact

same approach emerges from even a cursory glance at applications for writs

of habeas corpus that Mr. Ribnik prepared in all of his capital state habeas

cases prior to his representation of Mr. Alvarez.

      Mr. Alvarez has not had the resources available to fully investigate Mr.

Ribnik’s prior work, and has requested the resources to do so prior to the

final disposition of this writ in a funding request. (Instrument Nos. 51, 58).

However, even from the limited review so far possible, it is apparent that in

all of Mr. Ribnik’s state habeas cases, including Mr. Alvarez’s, he

consistently failed to conduct extra-record investigation or present any

claims cognizable in post-conviction proceedings. His standard approach to

preparing a habeas petition appears to have been to review the trial record,

review the state’s files, and talk with the defendant. The claims prepared for

these cases are straight, record-based legal arguments that could have and

should have been presented on direct appeal. The claims lack newly

investigated facts, fail to contain any trial counsel ineffectiveness allegations

that include any assertion, let alone evidence, of prejudice (a necessary

aspect of any claim of ineffectiveness), and fail to reveal any investigation of

guilt or penalty phase witnesses.



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      Concerns over Mr. Ribnik’s competence in his capital state habeas

corpus work have been widespread. See, e.g. Chuck Lindell, “Lawyer

makes 1 case for 2 killers”, Austin American-Statesman, Feb. 26, 2006, at

A1 (discussing the boiler-plate and generic record-based issues that

dominate some of Mr. Ribnik’s other capital writs); Chuck Lidell, “Sloppy

lawyers failing clients on death row”, Austin American-Statesman, Oct. 26,

2006 (mentioning that the Texas Bar Committee on Legal Services to the

Poor reviewed Mr. Ribnik’s work on capital habeas cases and decided to

take the extreme step of filing a grievance about him to the Bar). Exh. 88,

Newspaper Articles. The same non-cognizable claim that Mr. Ribnik filed

in the two referenced cases is one of the three claims that he presented in Mr.

Alvarez’s petition.

      As in this case, Mr. Ribnik’s deficient representation of Mr. Resendiz

extended beyond the failure to file a writ of habeas corpus with cognizable

claims. After representing Mr. Resendiz in the abysmal state habeas

proceedings, Mr. Ribnik was appointed in March 2004 to file a federal

habeas petition. On May 3, 2005, Mr. Ribnik filed a federal habeas petition

with a single issue – the same issue he presented in Mr. Alvarez’s, Mr.

Will’s, and Mr. Resendiz’s state habeas petitions – containing no facts or

arguments specific to the defendant. The Respondent filed a motion for



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summary judgment of dismissal and the District Court ordered Mr. Ribnik to

respond within 30 days. Mr. Ribnik never filed a response, and the petition

was dismissed. Mr. Ribnik then failed to file a notice of appeal under Rule

4(a)(5)(A) until days after the deadline. The federal district court observed

that “Ribnik’s unilateral action deprived his client of appellate review” and

that Mr. Resendiz had “received ineffective assistance of counsel during

federal habeas proceedings”. Exh. 82, Resendiz v. Dretke, November 22,

2005. Consequently, because of Mr. Ribnik’s ineffective assistance of

counsel, Mr. Resendiz never received state or federal review of whatever

claims he may have had. He was executed on May 10, 2006.

      Mr. Ribnik was appointed to represent Hector Garcia Torres on

February 20, 1998, after another state habeas attorney had already filed a

habeas corpus application devoid of any cognizable claims. Mr. Ribnik

failed to seek any funds for investigation, and failed to supplement the

record with any new facts developed during his representation of Mr. Torres.

He was eventually removed from the case on April 4, 2006. Exh. 84, Ex

Parte Hector Garcia, Supplemental Application for Writ of Habeas Corpus

Excerpt.

      Mr. Ribnik filed an application for writ of habeas corpus for Michael

Richard on April 3, 1998. The writ presented only two issues and both were



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based entirely on the trial record. The claims were not cognizable in post-

conviction proceedings and presented no extra-records facts. On May 15,

2007, Mr. Ribnik withdrew from representing Mr. Richard during his federal

habeas appeals because of his Parkinson’s Disease. The Fifth Circuit had

simultaneously rejected a request to file a successive petition in the case and

ruled that appointment of new counsel was therefore unnecessary. Mr.

Richard was left with no attorney and was executed a few months later on

September 25, 2007. Exh. 85, Michael Richard Materials.

      Mr. Ribnik was also appointed to represent Robert Gene Will in state

habeas proceedings in 2002. On October 19, 2003, he filed an application

for writ of habeas corpus containing only two claims. The majority of the

writ was identical to the writ that Mr. Ribnik filed in Mr. Resendiz’s case,

and included the same first claim presented in Mr. Alvarez’s writ. Both of

Mr. Will’s claims were entirely record-based and not cognizable in post-

conviction proceedings. As in all of these cases, Mr. Ribnik had failed to

conduct any factual investigation as required to develop cognizable claims at

this stage of proceedings. Exh. 86, Will v. Thaler, Emergency Motion for

Relief Excerpt.

      During his representation in several of these cases, as presented in the

state court proceedings in this case, Mr. Ribnik was additionally impaired



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during his representation of Mr. Alvarez by Parkinson’s Disease. Shortly

after Mr. Ribnik was diagnosed with an intermediate stage of Parkinson’s on

August 4, 2006, he withdrew as counsel from all of his capital cases. See,

e.g., Exh. 79, Affidavit of Leslie Ribnik (October 8, 2006), Exh. 84, Ex

Parte Hector Garcia, Supplemental Application for Writ of Habeas Corpus

Writ, Exh. 85, Michael Richard Materials, Exh. 86, Will v. Thaler,

Emergency Motion for Relief Excerpt. Shortly thereafter, on December 18,

2006, the Texas Court of Criminal Appeals removed Mr. Ribnik from the

list of attorneys approved to handle state habeas death penalty cases. See

Exh. 90, Letter from Abel Acosta, Chief Deputy Clerk, Texas Court of

Criminal Appeals to Sammy Khalil (Mar. 12, 2012).

      After Mr. Ribnik withdrew from Mr. Alvarez’s case, undersigned

counsel consulted with a neurologist, Dr. Michael Adelberg, who specializes

in assessing how neurological injuries and conditions impact mental

competence relative to specific types of jobs and job requirements. Dr.

Adelberg’s assessment determined that, based on the diagnosis in August

2006 of intermediate stage Parkinson’s disease, Mr. Ribnik was likely

impaired by the effects of Parkinson’s disease dating back to the time of his

appointment in Mr. Alvarez’s case in October 1999, to such an extent that he

would not have been competent as habeas counsel. Exh. 87, Affidavit of



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Michael Adelberg, M.D. ¶11 (“It is my professional opinion that, as of the

appointment date of October 14, 1999, it is probable that Mr. Ribnik was

mentally impaired by the affects of Parkinson’s disease to the degree that it

made him unfit to serve in the capacity as habeas counsel for a capital

appeal.”).

      Capital post-conviction litigation is complex and demanding work that

requires counsel to have the ability to manage large volumes of information,

develop salient facts and navigate through a highly complex and

complicated legal framework. Because of the high level of cognitive

functioning required by the work, the mental deficiencies associated with

Parkinson’s disease would undoubtedly cause significant impairment in the

ability to function as competent counsel in a capital habeas corpus case. As

Dr. Adelberg explained, this is true even during the initial stages of the

disease: “Given the high degree of cognitive functioning required by

litigators in complex capital cases as discussed in ¶9, even the aspects of

early dementia, which are relatively subtle, and other early consequences of

Parkinson’s would significantly impair a person’s ability to function

competently as counsel.” Exh. 87, Affidavit of Michael Adelberg, M.D. ¶12.

      Petitioner has so far been denied any resources to hire and consult

with an expert to determine the full impact of Mr. Ribnik’s Parkinson’s



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disease, its deleterious effects on his cognitive abilities, and how it impaired

his representation of Mr. Alvarez. When undersigned counsel for Mr.

Alvarez consulted with Dr. Adelberg in 2006, he did not conduct any

interview with Mr. Ribnik or other relevant individuals, and he was unable

to review any of Mr. Ribnik’s medical records or evaluate Mr. Ribnik

personally. Just as in the state exhaustion proceedings, Mr. Alvarez has

requested resources in these federal proceedings to conduct this investigation

in order to develop how Mr. Ribnik’s Parkinson’s affected Mr. Ribnik’s

competency to represent Mr. Alvarez. (Instruments No. 51, 58).

      Since the development of new facts through a thorough investigation

outside the record forms the basis for cognizable claims in a habeas writ, Mr.

Ribnik’s failure to conduct any non-record factual investigations effectively

deprived Mr. Alvarez of initial-review counsel in the state courts. Mr.

Ribnik’s work, muddled by the memory problems, slow thinking, and

cognitive impairments of Parkinson’s disease, consisted solely of reviewing

the record and presenting what were essentially three direct appeal claims.

His failure to fulfill the fundamental responsibilities and duties of capital

habeas counsel denied Mr. Alvarez a full and fair opportunity to present any

cognizable constitutional habeas claims.




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      This evidence more than amply demonstrates that Mr. Ribnik was

ineffective under the two-prong Strickland standard, the requisite showing

for Martinez cause. Nonetheless, should this Court be unpersuaded by the

record, Mr. Alvarez is entitled to develop these facts more fully at a hearing,

after conducting reasonably necessary investigations.

             3. The underlying ineffective-assistance-of-trial-counsel
                claims are substantial and Mr. Alvarez was prejudiced
                by them

      The existing record is also equally clear that Mr. Ribnik’s abject

failure to adequately represent Mr. Alvarez in state habeas corpus

proceedings prejudiced the outcome in those proceedings, because

substantial ineffective-assistance-of-trial counsel claims were waived. In

short, and as the law set forth in Martinez and Trevino requires counsel here

to show, there is clearly “some merit” to the underlying trial ineffectiveness

claims presented herein, which Mr. Ribnik wholly overlooked.

      Indeed, as noted above, when Mr. Alvarez’s successive state habeas

application was denied by the CCA on April 29, 2015, Justice Yearly

observed in a concurring opinion signed by three Justices:

      I will not dwell on Applicant’s present claim any further than to
      say that he alleges specific facts that are adequate to establish, if
      true, both: 1) the ineffective assistance of his trial counsel—at
      least in failing to investigate the existence of substantial
      mitigating evidence as required under Wiggins v. Smith, 539
      U.S. 510 (2003) (if not otherwise); and 2) the ineffective

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      assistance of his initial post-conviction habeas attorney in
      failing to conduct the mitigation investigation that trial counsel
      should have conducted so that initial state habeas counsel
      would be able to plead and prove ineffective assistance of trial
      counsel in Applicant’s initial writ application. Applicant has
      “demonstrate[d] that [his] underlying ineffective-assistance-
      of-counsel claim is a substantial one, which is to say that [he
      has] demonstrate[d] that the claim has some merit.”
      Martinez, 132 S.Ct. at 1318, 1320, 1321; Trevino, 133 S.Ct. at
      1914, 1921. Suffice it to say that I am persuaded that, should
      this Court refuse to reach the merits of Applicant’s claim of
      ineffective assistance of trial counsel, the federal courts may do
      so, and indeed may conduct their own review de novo, not
      deferentially (since there is no state decision on the merits to
      defer to), under Martinez/Trevino.

Ex Parte Juan Carlos Alvarez, WR-62,426-04, Concurring Opinion at 2-3.

(emphasis added). The existing record fully supports the CCA’s

observations and conclusions.

      The underlying trial IAC claims presented in Mr. Alvarez’s Amended

Petition are indeed “substantial ones” that have “some merit.” The full

extent of the deficient performance of trial counsel and the consequential

prejudice are set forth in Claims I and II of the Amended Petition. These

claims, and the exhibits upon which they rely (including Exhibits 1-3, 5-8,

12-31, 44-49, 52, and 53), are incorporated herein by express reference. A

summary of the primary trial IAC claim is set forth here.

      Mr. Alvarez was represented at trial by a lead attorney who

represented Mr. Alvarez for a mere 11 days prior to the commencement of



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the trial. Unsurprisingly, trial counsel failed to make reasonable efforts to

investigate, prepare, and present evidence on Mr. Alvarez’s behalf during

the pretrial, guilt, and penalty phases of his trial. Trial counsel’s lack of

familiarity with and attention to Mr. Alvarez’s case throughout the trial was

illustrated by his recurring failure to call witnesses by the proper name and

to remember the name of the victims in arguments. (Counsel explained to

the jury about one of the victims: “I can’t remember his name—but the one

that was with Ms. Varela at the time he got shot.” XXIV R. 42).

      Lead counsel also slept through portions of the trial. Affidavit of trial

juror Joseph Millspaugh, Exh.11 ¶ 7 (“The lead lawyer, Mr. Reyes, who did

all the questioning of witnesses, shocked us jurors by repeatedly falling

asleep during the trial. He did this on a number of occasions, when the State

was presenting its case and witnesses, and he was clearly asleep and not

hearing what the witnesses were saying.”).

      During the pre-trial representation, trial counsel’s deficient

performance included failure to: avoid accepting a case that he had no time

to adequately prepare for (representing Mr. Alvarez for a mere 11 days prior

to trial commencing); assemble a proper defense team (no mitigation

specialist was ever retained); review the state’s case (lead counsel never

even reviewed the prosecution’s file in the case); ensure that a full and



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complete investigation of all aspects of the case was conducted for both

phases of trial (an investigator conducted only six hours of investigation in

the case); file fact-specific pretrial motions; and prepare for and conduct an

adequate voir dire during jury selection.

      At the guilt-innocence phase of trial, trial counsel’s deficient

performance included his failure to: investigate facts or call witnesses to

rebut the State’s vulnerable theory of the case; object to gang references and

mischaracterizations elicited by the State; retain experts or otherwise

investigate and rebut the unreliable, inconsistent and unsupported use of

forensic evidence (ballistic evidence from both scenes did not support the

prosecution’s theory that Mr. Alvarez was the fatal shooter at each crime

scene); object to improper arguments; effectively cross-examine prosecution

witnesses (counsel failed to use available forensic evidence that contradicted

the testimony of the two key state witnesses who were present during the

crimes); preserve objections; investigate, call or prepare various defense

witnesses; present mental health and drug intoxication evidence; and request

proper jury instructions.

      At the penalty phase, trial counsel was equally unprepared. The entire

defense presentation at sentencing lasted a mere five and a half hours. Trial

counsel presented evidence from seven witnesses, all in a cursory and rote



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manner that failed to elicit the powerful evidence of mitigation, including

evidence of cognitive impairments and trauma, which was available and

subsequently developed by undersigned counsel. In penalty phase closing

argument, trial counsel only mentioned two facts in mitigation: that an

expert had indicated that Mr. Alvarez did not pose a future danger, and that

Mr. Alvarez was young. No other mitigating evidence or factors were

identified from evidence presented at trial or discussed in argument.

      Additional penalty phase deficiencies included counsel’s failure to:

investigate penalty phase theories, evidence, facts, and claims, including Mr.

Alvarez’s family background, education, mental health and cognitive

impairments, and drug use history; uncover Mr. Alvarez’s long-standing

organic brain damage and post traumatic stress disorder; investigate the

state’s evidence in aggravation; effectively cross-examine prosecution

witnesses regarding aggravating evidence; challenge the State’s misleading

use of gang affiliation with a competent expert witness qualified to evaluate

issues related to gangs; retain a social historian, mental health expert or

penalty phase investigator; obtain and present life history documents,

evidence, witnesses, and testimony; prepare a competent closing argument;

object to improper jury instructions; or request proper jury instructions.




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        These failures were prejudicial. Competent trial representation would

have resulted in a completely different trial at both phases. Undersigned

counsel conducted a preliminary investigation to uncover evidence that

should have been presented at trial. Although unable to conduct the

thorough investigation that Mr. Alvarez is entitled to, in the Amended

Petition undersigned counsel presented reports from several relevant experts,

and declarations from thirty-three family members, friends, acquaintances,

and teachers who provided important details about Mr. Alvarez’s life.

        These witnesses would have provided the following information to the

jury:

        Mr. Alvarez’s life began in the small village of San Gabriel, in the

Mexican State of San Luis Potosi. Mr. Alvarez grew up in a home rife with

domestic violence, infidelity, and abject poverty. His own family was

involved in a violent family feud with another clan, which culminated in the

murders of Mr. Alvarez’s father, grandfather, and paternal uncle. These

deaths shattered the family and devastated young Juan Alvarez. He was

only seven years old when he arrived at the scene of his father’s dead body

lying on the ground just after he was murdered. Juan was terrorized by the

death and became fearful and withdrawn.




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      After their father’s death, while the family was in mourning, the

feuding clan stepped up their harassment of Mr. Alvarez’s family. Without

their father, the head of the household, the Alvarez family struggled to

survive, and everyone felt unsafe, always fearful of the constant terrorizing

intimidation by the feuding family. The Alvarez family finally fled San

Gabriel in the middle of the night, and headed for Monterrey, Mexico. Juan

Alvarez was only eleven years old.

      In Monterrey, the immediate fear of retaliation and violence from the

feuding family responsible for his father’s death was eased. Instead,

however, the family began to disintegrate, as older members of the family

abandoned the younger ones, leaving Monterrey for the United States in

search of jobs and money.

      Mr. Alvarez’s mother was the first to leave, when she moved to Texas

to find work to support her children. Juan Alvarez remained in Monterrey

for about three years without his mother or a consistent adult guardian to

raise him during the critical age of 11-14. He was passed around to various

primary care givers, ranging from his older sisters, his aunt, a sister-in-law,

and a sister-in-law’s mother. Mr. Alvarez’s mother eventually came to bring

him back to Texas with her. He was anxious and fearful of moving to a

completely new place.



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      When Mr. Alvarez finally immigrated to Houston, he was thrust into a

disorienting and dangerous environment. He did not speak English, and his

family could not afford to live in a safe neighborhood. He moved into a

small apartment overcrowded with relatives, but still lacked meaningful

supervision, since most of the parental figures worked long hours to support

the family. His mother and older sister worked as live-in domestics in

wealthier neighborhoods and could only come home on the weekends.

      The neighborhood was fraught with gang violence and Mr. Alvarez

was largely left unprotected and vulnerable. About a year after he arrived,

Mr. Alvarez was brutally attacked by a group of high school boys and was

severely beaten while they called him racist names and mocked him. Mr.

Alvarez’s friend, who witnessed the beating, informed the school about the

incident but no one intervened to protect him. Mr. Alvarez continued to live

in fear and the constant presence of the threat of violence.

      All of these conditions left Mr. Alvarez highly vulnerable to the lure

and safety of the protection of a local gang. One of his teachers witnessed a

change in Mr. Alvarez as he was drawn into the social setting of the gang.

She noticed that he was having some difficulties and appeared to gradually

drift away while his grades declined and he became withdrawn.




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      Mr. Alvarez began to spend time with the only peer group available to

provide a sense of safety, family, and community – the local neighborhood

gang – and it was in the gang that he re-experienced the debilitating trauma

of standing by helplessly as someone close to him was senselessly murdered.

A few months prior to the crimes that resulted in his capital prosecution, Mr.

Alvarez’s friend Maurizio Rivas was murdered. As a trauma expert reports,

the death of Mr. Alvarez’s friend Maurizio Rivas was likely the triggering

event that lead to the anomalous spate of violence that Mr. Alvarez was

involved in, and which culminated in this capital prosecution.

      Although the jury heard in passing that Mr. Alvarez’s friend had been

killed shortly before the crimes, the jury did not have the context of Mr.

Alvarez’s experiences in Mexico and Houston that was necessary to

understand the especially damaging impact his friend’s death would have on

him, and therefore why that death would provided a particularly mitigating

factor at that point in Mr. Alvarez’s life. Trial counsel failed to understand

the importance of this event and how it interacted with Mr. Alvarez’s

emotional trauma, and failed to help the jury understand Mr. Alvarez’s

involvement in a gang and the role that his friend’s death played in the

subsequent events.




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      Throughout all of these personal upheavals, the repeated

abandonments, rotating parental figures, the emotional and cultural

disorientation of being uprooted and starting a life in a new place, Mr.

Alvarez was described as quiet, reserved, respectful, generous, and a good

person. The people who knew Juan Alvarez throughout each stage of his

life describe him with a consistency that would have undoubtedly struck a

sympathetic chord with the jury, allowing them to appreciate the crimes for

what they were in Juan’s life: not the acts of a predatory person with a

predilection for violence, but rather an aberrational reaction brought on by

an acutely and uniquely traumatic loss of yet another deeply important

person in his life. It was trial counsel’s duty to help the jury understand both

the circumstances and events which led to his participation in the violence,

and also to understand who he was outside the context of this spate of

violence.

      Experts evaluated Mr. Alvarez and determined that he suffers from

Post-Traumatic Stress Disorder, Major Depressive Disorder, and serious

organic brain damage. The jury was never informed of these conditions.

      Dr. Frederic Sautter, an expert in trauma and its effects, evaluated Mr.

Alvarez and determined that he met the DSM-IV criteria for post-traumatic

stress disorder (PTSD), and that he had been suffering from PTSD since the



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age of about ten years old up through the present, and that Mr. Alvarez met

all of the criteria for a DSM-IV Axis I diagnosis of Major Depressive

Disorder.

      An expert such as Dr. Sautter could have explained to the jury just

how the trauma effects played into Mr. Alvarez’s reaction to witnessing his

close friend’s death, including acts of violence that led to his conviction for

capital murder. The information would have placed a seemingly

inexplicable series of tragic and violent behaviors into a larger framework

that would have helped the jury understand how and why Mr. Alvarez may

have “snapped” at the time of his friend’s brutal and violent death.

      Dr. Ricardo Weinstein conducted a neuropsychological evaluation of

Mr. Alvarez. He discovered that Mr. Alvarez suffers from significant brain

dysfunction that impaired his ability to plan and organize his behavior in a

goal-directed manner. The brain dysfunction impaired his judgment,

impulse control, and ability to foresee consequences of his behavior.

      Gang expert John Hagedorn evaluated Mr. Alvarez and the use of

gang evidence at his trial, as well as information regarding the gang to which

Mr. Alvarez was alleged to have been involved, and his role in that gang.

The State presented aggravating evidence of Mr. Alvarez’s role in a gang

and the nature of his violence that was damaging and misleading. An expert



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such as Dr. Hagedorn could have provided the jury with information to

confront and rebut the mischaracterization by the State and explain the

mitigating nature of Mr. Alvarez’s gang involvement and the implications

for his lack of future dangerousness. The gang that Mr. Alvarez was

involved with was not one that was engaged in criminal enterprises, but

rather a neighborhood gang, which was made up of unsupervised peer

groups with little formal structure that adolescents joined out of the need for

protection and acceptance.

      Mr. Alvarez’s trial IAC claims attack the reliability of both his

conviction and sentence. Had trial counsel not rendered ineffective

assistance, and had the jury learned the information provided by the thirty-

three social history witnesses and the three expert witnesses whose evidence

was provided for the first time in these proceedings, the jury would not have

found Mr. Alvarez guilty of capital murder and would not have sentenced

him to death.

      C.     If the Court determines that Mr. Alvarez failed to establish
             cause and prejudice under Martinez on the basis of his
             pleadings alone, Mr. Alvarez is entitled to funding to
             conduct an adequate investigation and an evidentiary
             hearing to prove the elements of Martinez

      As recognized by the dissenting Justices of the CCA and argued

extensively in prior funding motions (Instrument Nos. 51 and 58), Mr.



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Alvarez believes that the existing record establishes that his trial counsel

ineffectiveness claims are substantial, and that Leslie Ribnik was ineffective

in failing even to countenance the claims, let alone consider, investigate and

present them in state habeas corpus proceedings. This satisfies Martinez and

Trevino. If this Court agrees, then the next step would be to allow Mr.

Alvarez sufficient time and resources to fully develop his trial counsel

ineffectiveness claims, followed by an evidentiary hearing and the Court’s

de novo review of the merits.

      If the Court determines that the existing record is inadequate in any

respect regarding the relevant Martinez inquiry, either as to Mr. Ribnik’s

ineffectiveness, or the assertion that the underlying trial ineffectiveness

claims have “some merit”, then the next step should be to allow Mr. Alvarez

sufficient time and resources to investigate, prepare and present facts

supporting these Martinez prongs at an evidentiary hearing before the Court.

In this event, Mr. Alvarez urges the Court to fully consider the arguments

presented in Instruments No. 51 and 58, seeking the necessary investigative

and expert funds to prove the allegations, and requests the opportunity to

present factual support and legal evidence that he has met his burdens in an

evidentiary hearing.




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                                   Respectfully Submitted,

                                   /s/ Robert L. McGlasson

                                   Robert L. McGlasson*
                                   Texas Bar No. 13634050
                                   Attorney at Law
                                   1024 Clairemont Ave.
                                   Decatur, GA 30030
                                   TEL: 404-314-7664
                                   FAX: 404-879-0005
                                   Email: rlmcglasson@comcast.net

                                   Skyla V. Olds
                                   California Bar No. 241742
                                   Admitted Pro Hac Vice
                                   Attorney at Law
                                   P.O. Box 682
                                   Boyes Hot Springs, CA 95416
                                   (510) 915-4168 (phone)
                                   (707) 205-1492 (fax)
                                   Email: skyla.olds@gmail.com

                                  Counsel For Petitioner Juan Alvarez
                                  *Attorney in Charge




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                           Certificate of Service

      I hereby certify that a true and correct copy of the foregoing

PETITIONER’S SUPPLEMENTAL BRIEF ADDRESSING THE IMPACT

OF THE MOST RECENT STATE COURT PROCEEDINGS ON MR.

ALVAREZ’S INEFFECTIVE ASSISTANCE OF COUNSEL CLAIMS been

served by CM/ECF upon counsel for Respondent:

                         Mr. Stephen M. Hoffman, Esq.
                         Office of the Texas Attorney General
                         300 W. 15th Street, 8th Floor
                         Austin, Texas 78701
                         Telephone: (512) 936-1400
                         Email: stephen.hoffman@oag.state.tx.us

This 14th day of December, 2015.

                                       /s/ Skyla V. Olds




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